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                                    UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF DELAWARE



In re: Sequential Brands Group, Inc., et al.,                     §                 Case No. 21-11194
                                                                  §
                                                                                    Lead Case No. 21-11194
                                                                  §
                        Debtor(s)                                 §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 12/31/2023                                                             Petition Date: 08/31/2021



Plan Confirmed Date:02/22/2022                                                       Plan Effective Date: 03/03/2022


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Liquidating Trust
                                                                                   Name of Authorized Party or Entity




/s/ Timothy P. Cairns                                                   Timothy P. Cairns
Signature of Responsible Party                                           Printed Name of Responsible Party
01/16/2024
                                                                        Pachulski, Stang, Ziehl & Jones LLP
Date                                                                    919 North Market Street, 17th Floor
                                                                        Wilmington, DE 19801
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                       Total Since
                                                                                               Current Quarter        Effective Date

  a. Total cash disbursements                                                                        $1,099,442             $8,511,299
  b. Non-cash securities transferred                                                                          $0                    $0
  c. Other non-cash property transferred                                                                      $0                    $0
  d. Total transferred (a+b+c)                                                                       $1,099,442             $8,511,299

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                 Approved       Approved     Paid Current     Paid
                                                                               Current Quarter Cumulative      Quarter      Cumulative
a.       Professional fees & expenses (bankruptcy)
         incurred by or on behalf of the debtor              Aggregate Total
                                                                                          $0   $13,664,101             $0   $13,664,101
         Itemized Breakdown by Firm
                  Firm Name                          Role
         i        Gibson, Dunn & Crutcher LLP Lead Counsel                                $0    $4,442,974             $0    $4,442,974
         ii       Pachulski Stang Ziehl & Jones LCo-Counsel                               $0      $664,797             $0       $664,797
         iii      Miller Buckfire & Co., LLC andFinancial Professional                    $0    $7,541,284             $0    $7,541,284
         iv       Kurtzman Carson Consultants LOther                                      $0      $106,892             $0       $106,892
         v        King & Spalding LLP                Other                                $0      $908,154             $0       $908,154
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                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0       $36,632             $0       $36,632
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i         Centri Business Consulting, LL Financial Professional                 $0            $0             $0           $0
        ii        Cohn Reznick LLP                 Financial Professional               $0            $0             $0           $0
        iii       Eisner Amper LLP                 Financial Professional               $0       $26,250             $0       $26,250
        iv        Golenbock Eiseman Assor Bell Other                                    $0            $0             $0           $0
        v         Grimes LLC                       Other                                $0            $0             $0           $0
        vi        Locke Lord LLP                   Other                                $0            $0             $0           $0


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        vii      MG-IP Law, P.C.               Other                            $0           $0           $0           $0
        viii     RSM US LLP                    Financial Professional           $0           $0           $0           $0
        ix       Wood, Herron & Evans LLP      Other                            $0       $10,382          $0       $10,382
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c.          All professional fees and expenses (debtor & committees)                         $0   $13,700,733            $0 $13,700,733

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                   % Paid of
                                                  Payments            Paid Current                                             Allowed
                                                 Under Plan             Quarter           Paid Cumulative    Allowed Claims     Claims
 a. Administrative claims                                  $650,000           $650,000            $650,000          $650,000      100%
 b. Secured claims                                              $0                 $0                  $0                 $0         0%
 c. Priority claims                                             $0                 $0                  $0                 $0         0%
 d. General unsecured claims                                    $0                   $0                $0                 $0         0%
 e. Equity interests                                            $0                 $0                  $0


Part 4: Questionnaire
     a. Is this a final report?                                                                              Yes    No
             If yes, give date Final Decree was entered:
         If no, give date when the application for Final Decree is anticipated:         03/03/2027
  b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                   Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Marc Rosenberg                                                    Marc Rosenberg
Signature of Responsible Party                                         Printed Name of Responsible Party
Authorized Signatory                                                   01/16/2024
Title                                                                  Date




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                                                          Non-Bankruptcy Table 1-50




                                                         Non-Bankruptcy Table 51-100




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